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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

SALLY GREENHOUSE
Plaintiff CIVIL ACTION NO.
3:05 CV 01429 (AHN)
VS.
YALE UNIVERSITY
Defendant SEPTEMBER 10, 2008

DEFENDANT’S PROPOSED JURY INSTRUCTIONS

The Defendant proposes the following jury instructions.
I. GENERAL INSTRUCTIONS

A. All Persons Equal Before The Law

I. This case should be considered and decided by you as an action between persons
of equal standing in the community, of equal worth, and holding the same or similar stations of
life. The plaintiff is a natural person. The defendant, Yale University, is an institution. You
must give no consideration to the fact that the defendant is an institution. A university is
entitled to the same fair trial at your hands as if it were a natural person. The size of Yale
University or its financial assets have no place in this trial. All persons, including universities,
must stand equally before you and are to be dealt with as equals in this Court. You must
assess the claims and defenses of both parties to this action without regard to their status and
treat both parties in an equal and unbiased fashion.

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E. J. DeVitt and C. B. Blackmar,
Federal Jury. Practice and
Instructions, (4th ed. 1987) at
Section 71.04.

2. In resolving the issues presented to you for decision in this trial you must not
be persuaded by bias, prejudice, or sympathy for or against any of the parties to this case or
by any public opinion. Sympathy is not a proper basis for any decision m this case, and
elements of bias, prejudice or sympathy should not enter into your discussions or your
deliberations. The mere fact that an individual claims to have been harmed does not by itself
provide a basis for awarding damages. All parties expect that you will carefully and
impartially consider all the evidence, follow the law as it is now being given to you, and

reach a just verdict, regardless of the consequences.

1A Fed. Jury Prac. & Instr. §
12.01 (Sth ed.); 3 Fed. Jury Prac.
& Instr. § 103.01 (Sth ed.).
IL. THE PLAINTIFF’S CASE
The plaintiff, Sally Greenhouse, claims that the defendant, Yale University, violated
Title [IX of the Educational Amendments of 1972, which prohibits discrimination on the basis
of gender in educational programs and activities receiving financial assistance. The
defendant acknowledges that it receives financial assistance and must abide by the statute.
The defendant denies, however, that it subjected the plaintiff to discrimination on the basis of

her gender or retaliated against her. The plaintiff has the burden of proving all of the

elements of her claims to you. It is not sufficient to prove some of the elements. If the

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plaintiff has failed to prove even one element of her claim, then you must find in favor of the
defendant on that claim.

The plaintiff first claims that the defendant discriminated against her on the basis of
her gender. There is a two step process in determining whether or not a plaintiff has proven a
claim of discrimination. First, you must consider whether the plaintiff has made out a prima
facie case. If she has not, then your verdict would have to be in favor of Yale University. If
you find that the plaintiff has proven a prima facie case, then you must next consider whether
the defendant has articulated a legitimate, non-discriminatory business reason for its actions;
and if so, you would then have to determine whether or not the plaintiff has overcome that
legitimate, non-discriminatory business reason and proven an actual intent to discriminate. If
the plaintiff has not done that, then your verdict would have to be in favor of Yale University.

In order to establish a prima facie claim of discrimination, a plaintiff, such as Ms.
Greenhouse, must establish four elements with respect to her claim of discrimination: (1) she
was within a protected group, (2) she was qualified for the position, (3) she suffered an
adverse action, and (4) the action occurred under circumstances giving rise to an inference of
discrimination. Yale University agrees that Ms. Greenhouse, as woman, is a member of a
protected group and that dismissal from a university qualifies as an adverse action.

In deciding whether Ms. Greenhouse has established a prima facie case, you must
decide whether she was qualified to be advanced to the second year at the Yale University

School of Drama and whether her dismissal occurred under circumstances giving rise to an

 
 

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inference of discrimination. If the plamtiff has not proven each element of her prima facie

case, then your verdict must be in favor of Yale University.
Spence v. Maryland Casualty
Co., 995 F.2d 1147, 1155 (2d
Cir.1993); Marescov. Evans
Chemetics, Div. of W.R. Grace
& Co., 964 F.2d 106, 110 (2d
Cir.1992).

You must give consideration to the fact that the individuals who were primarily
responsible for initiating the plaintiffs dismissal — Professor Elizabeth Diamond and
Professor David Chambers ~ were the very same individuals who were primarily responsible
for admitting Ms. Greenhouse to the Yale School of Drama in the first place. In determining
whether Ms. Greenhouse’s dismissal occurred under circumstances giving rise to an inference
of discrimination, you should consider the fact that the defendant placed the plaintiff on
academic probation within six months of admitting her to the School of Drama. The plaintiff
was then dismissed from the School of Drama eight months later. When a defendant admits
a plaintiff to an academic program, places her on academic probation shortly after, and then
dismisses her within a short period of time, there is a strong inference that discrimination was
not a determining factor in the dismissal. The reason for this is that the plaintiff was female
when she was admitted to the program; if the individuals who later initiated the dismissal

process were prone to discriminating against females, they likely would not have invited her

to come to the program in the first place.

Boyce v. Bank of New York, 226
Fed. Appx. 17 (2d Cir. 2006);

 
 

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Carlton _v. Mystic Transp., Inc.,
202 F.3d 129 (2d Cir. 2000);
Grady _v. Affiliated Cent., Inc.,
130 F.3d 553 (2d Cir. 1997), cert.
denied 525 U.S. 936 (1998).

If Ms. Greenhouse has not proven each of these four elements of the prima facie case
for her claim of gender discrimination, she has not satisfied her burden of proof. If you find
this to be the case, then you must render a verdict in favor of Yale University.

If, on the other hand, you find that Ms. Greenhouse proved all four of the elements of
a prima facie case on her claim of gender discrimination, then Ms. Greenhouse has
established a presumption of discrimination. However, this would not end the case. Yale
University then would have the burden to articulate a legitimate, non-discrimimatory reason
for its action. Any stated reason is sufficient; it does not need to be a reason you would find
satisfactory. Yale University does not need to prove to you that the stated reason was the
actual reason for its actions. In this case, Yale University has offered evidence that Ms.
Greenhouse failed to work cooperatively in a collaborative fashion with her fellow classmates
and was not therefore qualified to continue as a student at the School of Drama. If you find
that that was a legitimate, non-discriminatory reason for Yale University’s actions, then the
presumption of discrimination drops out of the case, and Ms. Greenhouse must prove that
Yale University’s articulated reason is false and the real reason for the dismissal was in fact
discrimination. If you find that Ms. Greenhouse failed to prove that the reason articulated by

Yale University was false or has failed to prove that the real reason for the dismissal was

intentional discrimination, then you must render your verdict in favor of Yale University.

 
 

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The burden of proving to you that Yale University intentionally discriminated against Ms.
Greenhouse because of her gender always lies with Ms. Greenhouse. If she has not proven
that Yale University intentionally discriminated against her based on her gender, then you

must find in favor of Yale University.

St. Mary's Honor Center v.
Hicks, 509 U.S. 502, 506-07
(1993); Spence, supra, 995 F.2d
at 1155; Maresco, 964 F.2d at
110; Gallo ev. Prudential
Residential Servs., Ltd.
Partnership, 22 F.3d 1219, 1225
(2d Cir. 1994).

The plaintiff also claims that the faculty created a hostile educational environment by
sexually harassing her. In order to prove her Title [IX claim, the plaintiff must satisfy three
elements: (1) the sexual harassment was so severe, pervasive, and objectively offensive that it
could be said to deprive the plaintiff of access to the educational opportunities or benefits
provided by Yale University; (2) Yale University had actual knowledge of the sexual
harassment; and (3) Yale University was deliberately mdifferent to the harassment. In
addition, Yale University must have had substantial control over both the harasser and the
context in which the harassment occurred. In order to be actionable, the sexual harassment
must have a systemic effect on the educational programs or activities. In assessing the degree
of the sexual harassment, you should take into account the relationship between the harassers

and the plaintiff. Yale University cannot be liable if it did not have actual knowledge of the

sexual harassment. Deliberate indifference on the part of Yale University may be found only

 
 

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if Yale University’s response to the harassment, if you find there was in fact harassment, was
clearly unreasonable or if remedial action only followed after a lengthy and unjustified delay.
It is not sufficient for plaintiff to prove one or two of these elements; she has the burden of
proving all elements of her claim. If you find that the plaintiff has failed to establish even
one of these elements, you must enter a verdict in favor of the defendant.

Doe ex rel. Doe v. Hamden Bd.
of Educ,, 2008 WL 2113345

(D.Conn. 2008); Hayut_yv. State
University of New York, 352

F.3d 733 (2d Cir. 2003); Davis
Next Friend Lahonda D. v.
Monroe County Bd. of Educ.,
526 U.S. 629 (1999); Gebser v.
Lago Vista Independent School
Dist., 524 U.S. 274 (1998).

In determining whether the plaintiff endured sexual harassment, that was so severe,
pervasive, and objectively offensive, you must consider the totality of the circumstances,
including the frequency and severity of the harassing conduct; whether the conduct was
physically threatening or humiliating, or a mere offensive utterance; and whether it
unreasonably interfered with the plaintiff's academic performance. Whether gender-oriented
conduct rises to the level of actionable harassment depends on a constellation of surrounding
circumstances, expectations, and relationships. Sexual harassment can be regarded as severe
only if it clearly transcends the bounds of propriety and decency. Sexual harassment is not

pervasive if the conduct is sporadic, that occurs only once every so often. In other words, a

few incidents over several months would not be sufficient. Rather, the conduct must be

 
 

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continuous and widespread. Sexual harassment is objectively offensive only if the average,
reasonable person in the same setting as the plaintiff would be offended by the conduct. The
defendant cannot be held liable for gender discrimination if the plaintiff has a heightened
sensitivity which caused her to be offended by conduct that would not offend the average,
reasonable graduate student in a theater program. An individual can be found to have been
deprived of access to educational opportunities or benefits only if the sexual harassment
undermines and detracts from his or her educational experience and has the systemic effect of
denying him or her equal access to educational resources and opportunities. If the level of
harassment proven to you does not meet this standard, then your verdict must be in favor of
Yale University.
Hayut v. State University of New
York, 352 F.3d 733 (2003);
Davis v. Monroe County Bd. of
Educ., 526 U.S. 629 (1999);
Riccio v. New Haven Bd. of
Educ., 467 F.Supp.2d 219
(D.Conn. 2006);

The plaintiff also claims that Yale University retaliated against her when it dismissed
her from the Drama School. In order to prevail on her claim of retaliation, the plaintiff must
prove that Yale University dismissed her from the Drama School because she complained of
gender discrimination. The defendant has offered evidence that the plaintiff was a poor

student in that she was unable to cooperate and collaborate with other students, as was

required by the Drama School program. If you find that Yale University dismissed the

 
 

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plaintiff from the Drama School because of her deficiencies as a student, then you must find
for Yale University on the retaliation claim.

Jackson v. Birmingham Bd. of
Educ., 544 U.S. 167 (2005).

In determining whether the plaintiff has proven her claims in this case, you must
remember that educational institutions have broad discretion in terminating students from
their programs. The courts have recognized that judges and juries should not substitute their
judgment for that of educators, who are far more expert than judges and juries when it comes
to making educational decisions.

Gupta _v. New Britain General
Hospital, 239 Conn. 574 (1996).

You should also keep in mind that not every unwelcome event would qualify as an
adverse action. In this case, the only action which would qualify as an adverse action is the
decision to dismiss the plaintiff from the Drama School. The issuance of the waming to the
plaintiff in September, 2002, wouid not be sufficient to constitute an adverse action. See,
Chang v. Safe Horizons, 254 Fed. Appx. 838, 839 (2d Cir. 2007); Loris v. Moore, 2008 WL.
3891730 *13 (D.Conn. August 20, 2008) (Eginton, J.). Accordingly, even if you were to
conclude that the decision to issue the warning to the plaintiff in September, 2002 was the
result of either discrimination or retaliation, that would simply not be actionable. Similarly,
it is not sufficient for the plaintiff to prove that the decision to dismiss her was not

educationally sound or unfair. The plaintiff must prove that the reason for her dismissal was

 
 

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due to discrimination based on gender or out of retaliation for filing a complaint of gender
discrimination in order to prevail on those claims.
Til DAMAGES

If you find that the plaintiff has failed to meet her burden of proving her claim on
ability, then your verdict must be for Yale University, and you will not reach the question of
damages. On the other hand, if you find that the plaintiff has satisfied her burden of proving the
essential elements of her claim by a preponderance of the evidence, then you should determine
whether the plaintiff has proven damages. The fact that I am instructing you as to damages,
however, is not an indication that I believe that you should award damages. I am instructing
you as to the measure of damages so that you may determine how much to award if you find
that the plaintiff has proven all of the elements of her claim as I previously instructed. If she
has not, you should not consider damages. Rather, you must return a verdict for Yale

University.

E. J. DeVitt and C. B. Blackman,
Federal Jury Practice and
Instructions, (4th ed. 1987) at

Section 107.08.
In general, there are two types of damages: economic damages and non-economic
damages. Economic damages would include things like bills for a therapist or medication or
lost wages. Non-economic damages provide compensation for emotional distress. The

plaintiff is not seeking damages for emotional distress, and therefore you cannot award any

damages for emotional distress or any other non-economic damages. The burden of proving

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damages, of course, is on the plaintiff. If you find that Ms. Greenhouse has not proven any
damages, then you should not award her any damages, even if you were to conclude that the
University subjected her to discrimination or retaliated against her.

On the other hand, if you decide that the plaintiff has proven by a preponderance of
the evidence that she was the victim of unlawful discrimination and/or retaliation and she
suffered economic loss, then you may award an amount which you believe to be fair
compensation. You may award compensatory damages only for economic loss which the
plaintiff has proven was actually caused by the defendant's unlawful conduct. The damages
that you award must be fair compensation, no more and no less. You cannot be influenced by
any sympathy you feei for Ms. Greenhouse, nor should you attempt to be generous to her in
awarding damages. Your verdict must be fair to both sides. In addition, you cannot award
compensatory damages for speculative amounts, but only for those items which the plaintiff
has actually proven by substantial evidence. In this regard, you may not award any money to
the plaintiff for lost earnings or lost earning capacity, because she has not proven any such
loss by competent evidence. It is the plaintiff's burden to prove her damages to you, just as it
is her burden to prove all aspects of her case. If she has failed to prove actual economic loss,
then you may not award any damages to her.

Pattern Jury Instructions of the
District Judges Association of the
Fifth Circuit, Civil Cases,
Instruction No. 15.2 (1999);
Carrano_v.. Yale-New Haven

Hospital, 279 Conn. 622, 650,
904 A.2d 149 (2006); Beverly

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Hills Concepts, Inc. v. Schatz
and Schatz, Ribicoff and Kotkin,
247 Conn. 48 (1998).
IV. VERDICT
The verdict must represent the considered judgment of each juror. In order to return a
verdict, it is necessary that each juror agree. Your verdict must be unanimous. It is your duty,
as jurors, to consult with one another, and to deliberate with a view to reaching an agreement, if

you can do so without violence to individual judgment. You must each decide the case for

yourself, but only after an impartial consideration of the evidence in the case with your fellow

jurors. In the course of your deliberations, do not hesitate to reexamine your own views and

change your opinion, if you are convinced it is erroneous. But do not surrender your honest
conviction as to the weight or effect of the evidence, solely because of the opinion of your
fellow jurors, or for the mere purpose of returning a verdict. Remember at all times that you are
not partisans. You are judges -- judges of facts. Your sole interest is to seek the truth from the

evidence in the case.

E. J. Devitt and C. B. Blackmar,
Federal Jury Practice and
Instructions, (4th ed. 1987)
Section 74.01.
A form of special verdict has been prepared for your convenience, in order to help
you arrive at a verdict in accordance with the instructions I have just given you. You will take

this form to the jury room. This form consists of a series of questions, which you must

answer. Your answer to each question must be unanimous, and you must answer the

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questions in the order they are given to you. Your foreperson will write the unanimous

answer of the jury in the space provided beneath each question. Unless you all agree on the

answer to a particular question, you may not return an answer to that question.

Wright, §410 & 411.

You should now retire to the jury room, elect a foreperson and deliberate on your

verdict. When you have reached a unanimous verdict, then you should inform the marshal

who will inform the Court.

THE DEFENDANT,
YALE UNIVERSITY

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CERTIFICATION

This is to certify that a copy of the foregoing was e-mailed on the above-written date,

to:

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